238 F.2d 235
    Reginald Francis ELLIS, Petitioner-Appellant,v.Milton E. BERMAN, Officer in Charge of the Albany, New York Sub-Office, Immigration and Naturalization Service, Respondent-Appellee.
    No. 151.
    Docket 24352.
    United States Court of Appeals Second Circuit.
    Argued October 11, 1956.
    Decided November 2, 1956.
    
      Anthony J. Fernicola, Utica, N. Y., for petitioner-appellant.
      Richard E. Bolton, Asst. U. S. Atty., Northern District of New York, Troy, N. Y. (Theodore F. Bowes, U. S. Atty., N. D. N. Y., Syracuse, N. Y., on the brief), for respondent-appellee.
      Before CLARK, Chief Judge, and HAND and SWAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      In a reasoned Memorandum-Decision Judge Foley has held that the deportation hearing conducted by a Special Inquiry Officer of the Immigration and Naturalization Service was in all respects fair, that petitioner intelligently waived his privilege of counsel and that the evidence sustained the finding that petitioner was still married to his first wife in Jamaica and hence could not obtain preferential admission on the basis of a later marriage to a United States citizen. We agree with the judge's conclusions and affirm dismissal of the writ of habeas corpus on his Memorandum-Decision.
    
    
      2
      Affirmed.
    
    